Case 1:20-cv-08924-CM Document 527-1 Filed 05/02/22 Page 1 of 4




                 EXHIBIT A
          Case 1:20-cv-08924-CM Document 527-1 Filed 05/02/22 Page 2 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------- x

In Re: New York City Policing During Summer 2020                               DECLARATION
Demonstrations.
                                                                               20 Civ. 8924 (CM)(GWG)
                                                                               20 Civ. 10291(CM)(GWG)
                                                                               20 Civ. 10541(CM)(GWG)
                                                                               21 Civ. 322(CM)(GWG)
                                                                               21 Civ. 533(CM)(GWG)
                                                                               21 Civ. 1904(CM)(GWG)

-------------------------------------------------------------------------- x

                 JOSEPH KLUBNICK, declares under penalty of perjury and pursuant to 28

U.S.C. § 1746, that the following is true and correct:

                  1.       I am a Lieutenant of the New York City Police Department (“NYPD”).

Since July 11, 2005, I have been assigned to the Strategic Technology Division of the Information

Technology Bureau (“ITB”). My responsibilities included user experience and data quality.

                  2.       This affidavit is based on my personal knowledge, conversations with

members of my command, as well as my review of the books and records maintained by the

NYPD.

                  3.       The NYPD uses Closed-Circuit Television (“CCTV”) systems as a cost-

effective tool to help NYPD personnel obtain real-time and/or recorded visual information, aid in

crime deterrence, reduce incident response times, provide archived video coverage for

investigations and criminal prosecutions, enhance public and officer safety, and provide

infrastructure security.

                  4.       NYPD can access CCTV systems that are owned by the NYPD or owned

by external entities.
        Case 1:20-cv-08924-CM Document 527-1 Filed 05/02/22 Page 3 of 4




                 5.    NYPD CCTV cameras are only installed by the NYPD to monitor areas that

are open to the public. Similarly, the NYPD will only agree to access an external entity’s CCTV

cameras that monitor areas that are open and accessible to the public. The field-of-view of all

CCTV cameras accessible to NYPD is strictly limited to public areas and locations.

                 6.    NYPD CCTV cameras capture only video images and are incapable of

capturing acoustic data.

                 7.    The ARGUS camera system is part of the CCTV system used by NYPD

throughout the five boroughs. The ARGUS cameras are NYPD owned and controlled.

                 8.    The ARGUS camera system is installed at approximately 1,755 locations in

New York City. Each ARGUS camera system has two associated cameras enclosed in a container

or ARGUS camera box. Therefore, the City has approximately 3,510 ARGUS video system

cameras throughout the five boroughs located within 1,755 camera boxes.

                 9.    The ARGUS camera systems are installed only in areas that are open and

accessible to the public. ARGUS cameras are not utilized to view windows of private dwellings

or the interior of private dwellings or any indoor or outdoor area where a person has a reasonable

expectation of privacy.

                 10.   In a 24-hour timeframe of continuous recording, at 15 frames per second

and at a resolution of 1280 x 720, one ARGUS camera captures approximately 5-10 gigabytes of

video footage.

                 11.   NYPD CCTV systems consist of Network Video Recorders (NVRs) which

use hard drives to store recorded video. All CCTV video footage is stored for a period of thirty

(30) days after which the NVRs automatically overwrite previously recorded video with the most
        Case 1:20-cv-08924-CM Document 527-1 Filed 05/02/22 Page 4 of 4




recent video images unless the video has been identified to be retained beyond the thirty (30) day

retention period.

               12.      A request to preserve video beyond the thirty (30) day retention may be

made by the Deputy Commissioner of Counterterrorism, the Deputy Commissioner of Legal

Matters, or their respective authorized designees.

               13.      On June 10, 2020, a request was submitted by the Legal Bureau to preserve

ARGUS system camera footage at specified locations occurring within the period May 28, 2020

through June 8, 2020.

               14.      To effectuate this preservation request, members of ITB worked with Lower

Manhattan Security Initiative (“LMSI”) and the Department’s vendor to identify the ARGUS

system cameras at the specified locations and archive all ARGUS system camera footage recorded

from May 28, 2020 through June 8, 2020 from those cameras.

               15.      In total, 1,599 ARGUS system cameras were identified at the specified

locations. Out of which recorded video from 1,560 ARGUS system cameras was protected. The

archived data from these cameras is between 93 and 187 terabytes. 39 ARGUS system cameras

had no recorded video for the period requested. These cameras were down due to short or long

term outages for the duration requested.



                                                            ___________________________
                                                            Joseph Klubnick
                                                            Lieutenant

September 28, 2021
